                                       Case 15-07401-JJG-7A      Doc 600 FiledFORM 1
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                                                                                                                                                    18 No:       1
                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                           ASSET CASES

Case No.:                      15-07401                                                                                     Trustee Name:                        Randall L. Woodruff
Case Name:                     S&S STEEL SERVICES, INC.                                                                     Date Filed (f) or Converted (c):     01/21/2016 (c)
For the Period Ending:         06/30/2018                                                                                   §341(a) Meeting Date:                03/08/2016
                                                                                                                            Claims Bar Date:                     06/07/2016
                                   1                               2                      3                           4                        5                                       6

                       Asset Description                        Petition/        Estimated Net Value               Property              Sales/Funds            Asset Fully Administered (FA)/
                        (Scheduled and                        Unscheduled       (Value Determined by               Abandoned             Received by           Gross Value of Remaining Assets
                   Unscheduled (u) Property)                     Value                 Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                               Less Liens, Exemptions,
                                                                                  and Other Costs)

Ref. #
1        444 E. 29th St. Anderson, IN 46016                            $0.00                         $0.00            OA                            $0.00                                          FA
         ADMINISTERED IN CHAPTER 11 CASE
2        Operating account with Wells Fargo Bank,                      $0.00                         $0.00            OA                            $0.00                                          FA
         N.A. Account ending in 5635
         ADMINISTERED IN CHAPTER 11 CASE
3        Deposit account with Wells Fargo Bank,                        $0.00                         $0.00            OA                            $0.00                                          FA
         NA- Account ending in 5650
         ADMINISTERED IN CHAPTER 11 CASE
4        Checking account with PNC Bank- account                       $0.00                         $0.00            OA                            $0.00                                          FA
         ending in 6281
         ADMINISTERED IN CHAPTER 11 CASE
5        American Family Insurance/Hartford Life                       $0.00                         $0.00            OA                            $0.00                                          FA
         Insurance Company Face Value
         $6,000,000.00 Cash Surrender Value
         $35,153.27 Beneficiary is S&S Steel Services,
         Inc./Assigned to Wells Fargo as collateral
         on April 30, 2015
         ADMINISTERED IN CHAPTER 11 CASE
6        444 E. 29th St. Anderson, IN 46016 Less                       $0.00                         $0.00            OA                            $0.00                                          FA
         doubtful accounts
         ADMINISTERED IN CHAPTER 11 CASE
7        Potential claims against former sales                     Unknown                           $1.00                                          $0.00                                        $1.00
         manager for breach of noncompete, and
         related damages.
8        Website/Domain:                                               $0.00                         $0.00            OA                            $0.00                                          FA
         http://www.sssteelservices.com/sssteel/
         ADMINISTERED IN CHAPTER 11 CASE
9        Customer List 444 E. 29th St. Anderson, IN                    $0.00                         $0.00            OA                            $0.00                                          FA
         46016
         ADMINISTERED IN CHAPTER 11 CASE
                                        Case 15-07401-JJG-7A                  Doc 600 FiledFORM 1
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                                                                                                                                                                 18 No:       2
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES

Case No.:                       15-07401                                                                                                 Trustee Name:                        Randall L. Woodruff
Case Name:                      S&S STEEL SERVICES, INC.                                                                                 Date Filed (f) or Converted (c):     01/21/2016 (c)
For the Period Ending:          06/30/2018                                                                                               §341(a) Meeting Date:                03/08/2016
                                                                                                                                         Claims Bar Date:                     06/07/2016
                                    1                                           2                      3                           4                        5                                       6

                       Asset Description                                     Petition/        Estimated Net Value               Property              Sales/Funds            Asset Fully Administered (FA)/
                        (Scheduled and                                     Unscheduled       (Value Determined by               Abandoned             Received by           Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                  Value                 Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                            Less Liens, Exemptions,
                                                                                               and Other Costs)

10      Vehicles, trailers, and accessories. See                                    $0.00                         $0.00            OA                             $0.00                                         FA
        attached list. 444 E. 29th St. Anderson, IN
        46016
        ADMINISTERED IN CHAPTER 11 CASE
11      Office equipment, furniture, supplies,                                      $0.00                         $0.00            OA                             $0.00                                         FA
        computers, appliances, printers, fax
        machines, telephone system, fitness
        equipment, radios, software, 444 E. 29th St.
        Anderson, IN 46016
        ADMINISTERED IN CHAPTER 11 CASE
12      See attached list. 444 E. 29th St. Anderson,                                $0.00                         $0.00            OA                             $0.00                                         FA
        IN 46016 Estimated at forced liquidation
        value.
        ADMINISTERED IN CHAPTER 11 CASE
13      Steel coils, sheets, and scrap. 444 E. 29th St.                             $0.00                         $0.00            OA                             $0.00                                         FA
        Anderson, IN 46016 2812 E. 38th St.
        Anderson, IN 46016 Valued at 60% of cost
        value.
        ADMINISTERED IN CHAPTER 11 CASE
14      Leasehold improvements relating to lease of                                 $0.00                         $0.00            OA                             $0.00                                         FA
        real property located at 444 E. 29th St.,
        Anderson, IN 46016 and 2812 E. 38th St.,
        Anderson, IN 46016. Leases are set forth on
        Schedule G. Book value less accrued
        additional depreciation.
        ADMINISTERED IN CHAPTER 11 CASE
15      vehicle sale proceeds                                    (u)                $0.00                   $28,830.00                                       $28,830.00                                         FA
16     avoidance actions vs any "non-insider" as                 (u)                $0.00                         $0.00                                     $747,468.08                                       $0.00
       defined in 11 U.S.C. 101(31)(B)
Asset Notes:     Collections continue. Some amounts yet to be collected.
17      causes of action against any "insiders" of               (u)                $0.00                         $1.00                                           $0.00                                       $1.00
        debtor as defined in 11 U.S.C. 101(31)(B)
                                     Case 15-07401-JJG-7A                   Doc 600 FiledFORM 1
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                                                                     INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                      ASSET CASES

Case No.:                     15-07401                                                                                                              Trustee Name:                        Randall L. Woodruff
Case Name:                    S&S STEEL SERVICES, INC.                                                                                              Date Filed (f) or Converted (c):     01/21/2016 (c)
For the Period Ending:        06/30/2018                                                                                                            §341(a) Meeting Date:                03/08/2016
                                                                                                                                                    Claims Bar Date:                     06/07/2016
                                 1                                                2                               3                           4                        5                                       6

                     Asset Description                                       Petition/                   Estimated Net Value               Property              Sales/Funds            Asset Fully Administered (FA)/
                      (Scheduled and                                       Unscheduled                  (Value Determined by               Abandoned             Received by           Gross Value of Remaining Assets
                 Unscheduled (u) Property)                                    Value                            Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                                       Less Liens, Exemptions,
                                                                                                          and Other Costs)

Asset Notes:     Trustee seeks to employ Fox Rothschild as Special Counsel in all such claims.


TOTALS (Excluding unknown value)                                                                                                                                                             Gross Value of Remaining Assets
                                                                                      $0.00                             $28,832.00                                     $776,298.08                                   $2.00



Major Activities affecting case closing:
 07/02/2018    Trial v. Sharp, et al has been continued; mediation is scheduled for 8/7/18.
 05/16/2018    Trial v. Sharp, et al 5/16-18/2018, Rm. 311, U.S. Courthouse, Indpls, IN
 04/11/2016    Court grants Trustee's motions to employ Ice Miller and Fox Rothschild as Special Counsel


Initial Projected Date Of Final Report (TFR):         06/30/2017                              Current Projected Date Of Final Report (TFR):       10/31/2018               /s/ RANDALL L. WOODRUFF
                                                                                                                                                                           RANDALL L. WOODRUFF
                                     Case 15-07401-JJG-7A            Doc 600          Filed 07/26/18           EOD 07/26/18 14:22:58          Pg 4 of 18
                                                                                       FORM 2                                                               Page No: 1
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        15-07401                                                                                  Trustee Name:                        Randall L. Woodruff
Case Name:                      S&S STEEL SERVICES, INC.                                                                  Bank Name:                           Bank of Texas
Primary Taxpayer ID #:          **-***6723                                                                                Checking Acct #:                     ******4372
Co-Debtor Taxpayer ID #:                                                                                                  Account Title:
For Period Beginning:           07/01/2017                                                                                Blanket bond (per case limit):       $1,000,000.00
For Period Ending:              06/30/2018                                                                                Separate bond (if applicable):


     1                2                          3                                                    4                                         5                    6                 7

Transaction      Check /                     Paid to/                        Description of Transaction                     Uniform          Deposit           Disbursement          Balance
   Date           Ref. #                  Received From                                                                    Tran Code           $                    $


03/03/2016           (15)   Wells Fargo                              vehicles sales proceeds                               1290-010          $28,830.00                   $0.00         $28,830.00
03/31/2016                  Bank of Texas                            Account Analysis Fee                                  2600-000                 $0.00                $41.72         $28,788.28
04/29/2016                  Bank of Texas                            Account Analysis Fee                                  2600-000                 $0.00                $44.83         $28,743.45
05/31/2016                  Bank of Texas                            Account Analysis Fee                                  2600-000                 $0.00                $46.25         $28,697.20
06/30/2016                  Bank of Texas                            Account Analysis Fee                                  2600-000                 $0.00                $44.69         $28,652.51
07/29/2016                  Bank of Texas                            Account Analysis Fee                                  2600-000                 $0.00                $46.11         $28,606.40
08/31/2016                  Bank of Texas                            Account Analysis Fee                                  2600-000                 $0.00                $46.03         $28,560.37
09/30/2016                  Bank of Texas                            Account Analysis Fee                                  2600-000                 $0.00                $44.47         $28,515.90
10/31/2016                  Bank of Texas                            Account Analysis Fee                                  2600-000                 $0.00                $45.89         $28,470.01
11/04/2016           3001   International Sureties, Ltd.             Bond # 016028270                                      2300-000                 $0.00                $21.04         $28,448.97
11/30/2016                  Bank of Texas                            Account Analysis Fee                                  2600-000                 $0.00                $44.31         $28,404.66
12/01/2016           (16)   Cassidy C. Fritz P.C.                    preference payment                                    1241-000            $385.85                    $0.00         $28,790.51
12/01/2016           (16)   Haywood L. Martin and Jo Ann Martin      preference payment                                    1241-000           $1,700.00                   $0.00         $30,490.51
12/01/2016           (16)   Accurate Cutting Technologies, Inc.      preference payment                                    1241-000            $359.70                    $0.00         $30,850.21
12/01/2016           (16)   J & E Tire Center, Inc.                  preference payment                                    1241-000           $1,072.02                   $0.00         $31,922.23
12/01/2016           (16)   Aspen Transportation, LLC                PREFERENCE PAYMENT                                    1241-000           $1,800.00                   $0.00         $33,722.23
12/08/2016           (16)   Insight Worldwide                        payment of preference                                 1241-000            $742.50                    $0.00         $34,464.73
12/08/2016           (16)   Emergency Radio Service, LLC             payment of preference                                 1241-000            $205.44                    $0.00         $34,670.17
12/15/2016           (16)   Jerry W. Hays and Rillie M.Hays          non-insider preference payment in full                1241-000            $138.00                    $0.00         $34,808.17
12/15/2016           (16)   JTSC Telecommunications Services         non-insider preference payment in full                1241-000            $281.25                    $0.00         $35,089.42
                            Company
12/23/2016           (16)   Taurus Tool & Engineering                payment of non-insder preference demand               1241-000            $623.00                    $0.00         $35,712.42
12/23/2016           (16)   Service Crane Co.                        payment of non-insder preference demand               1241-000           $1,212.50                   $0.00         $36,924.92
12/23/2016           (16)   VOSS Clark                               payment of non-insder preference demand               1241-000            $353.99                    $0.00         $37,278.91
12/30/2016                  Bank of Texas                            Account Analysis Fee                                  2600-000                 $0.00                $54.87         $37,224.04


                                                                                                                          SUBTOTALS           $37,704.25                 $480.21
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                                                           CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       15-07401                                                                            Trustee Name:                        Randall L. Woodruff
Case Name:                     S&S STEEL SERVICES, INC.                                                            Bank Name:                           Bank of Texas
Primary Taxpayer ID #:          **-***6723                                                                         Checking Acct #:                     ******4372
Co-Debtor Taxpayer ID #:                                                                                           Account Title:
For Period Beginning:          07/01/2017                                                                          Blanket bond (per case limit):       $1,000,000.00
For Period Ending:             06/30/2018                                                                          Separate bond (if applicable):


     1                2                           3                                            4                                         5                    6                 7

Transaction      Check /                    Paid to/                  Description of Transaction                     Uniform          Deposit           Disbursement          Balance
   Date           Ref. #                 Received From                                                              Tran Code           $                    $


01/06/2017           (16)   Universal Metals LLC              non-insider preference payment in full                1241-000           $9,374.86                   $0.00         $46,598.90
01/31/2017                  Bank of Texas                     Account Analysis Fee                                  2600-000                 $0.00                $70.80         $46,528.10
02/08/2017           (16)   Ratner Steel Supply Co.           payment in full of preference payment                 1241-000           $8,800.82                   $0.00         $55,328.92
02/28/2017                  Bank of Texas                     Account Analysis Fee                                  2600-000                 $0.00                $76.97         $55,251.95
03/31/2017                  Bank of Texas                     Account Analysis Fee                                  2600-000                 $0.00                $89.15         $55,162.80
04/01/2017           (16)   Kenwal Steel Corp                 Accepted payment per Order of 3/23/2017               1241-000           $5,744.03                   $0.00         $60,906.83
                                                              Kenwal Steel Corp
04/01/2017           (16)   Efreightship.LLC                  Accepted payment per Order of 3/23/2017               1241-000           $1,800.00                   $0.00         $62,706.83
                                                              Efreightship, LLC
04/01/2017           (16)   Steel Spectrum, LLC               Accepted payment per Order of 3/23/2017               1241-000           $1,000.00                   $0.00         $63,706.83
                                                              Steel Spectrum LLC
04/01/2017           (16)   Steel Spectrum LLC                Accepted payment per Order of 3/23/2017               1241-000           $1,000.00                   $0.00         $64,706.83
                                                              Steel Spectrum LLC
04/01/2017           (16)   Steel Spectrum LLC                Accepted payment per Order of 3/23/2017               1241-000           $1,000.00                   $0.00         $65,706.83
                                                              Steel Spectrum LLC
04/01/2017           (16)   Steel Spectrum LLC                Accepted payment per Order of 3/23/2017               1241-000           $1,000.00                   $0.00         $66,706.83
                                                              Steel Spectrum LLC
04/01/2017           (16)   Harvard Stel Sales LTD            Accepted payment per Order of 3/23/2017               1241-000          $13,000.00                   $0.00         $79,706.83
                                                              Harvard Steel Sales LTD
04/01/2017           (16)   Royal Metal Industries, Inc.      Accepted payment per Order of 3/23/2017               1241-000          $12,000.00                   $0.00         $91,706.83
                                                              Royal Metal Industries, Inc.
04/01/2017           (16)   Steel Technologies, LLC           Accepted payment per Order of 3/23/2017               1241-000           $3,500.00                   $0.00         $95,206.83
                                                              Steel Technologies LLC
04/01/2017           (16)   Synchrony Financial               Accepted payment per Order of 3/23/2017               1241-000            $137.24                    $0.00         $95,344.07
                                                              Synchrony Financial
04/01/2017           (16)   Mode Transportation, LLC          Accepted payment per Order of 3/23/2017               1241-000            $550.00                    $0.00         $95,894.07
                                                              Mode Transportation LLC


                                                                                                                   SUBTOTALS           $58,906.95                 $236.92
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                                                                                      FORM 2                                                                   Page No: 3
                                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       15-07401                                                                                      Trustee Name:                        Randall L. Woodruff
Case Name:                     S&S STEEL SERVICES, INC.                                                                      Bank Name:                           Bank of Texas
Primary Taxpayer ID #:          **-***6723                                                                                   Checking Acct #:                     ******4372
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:
For Period Beginning:          07/01/2017                                                                                    Blanket bond (per case limit):       $1,000,000.00
For Period Ending:             06/30/2018                                                                                    Separate bond (if applicable):


     1                2                            3                                                 4                                             5                    6                 7

Transaction      Check /                     Paid to/                        Description of Transaction                        Uniform          Deposit           Disbursement          Balance
   Date           Ref. #                  Received From                                                                       Tran Code           $                    $


04/01/2017           (16)   Surplus Metals Corp                     Accepted payment per Order of 3/23/2017                   1241-000          $10,000.00                  $0.00         $105,894.07
                                                                    Surplus Metals Corp
04/21/2017           3002   Wells Fargo Bank NA                     partial payment of 507(b) admin claim per Order of        2990-800                 $0.00           $76,811.23          $29,082.84
                                                                    03/23/17
04/24/2017           (16)   Eagle Capital Corporation               settlement per Order of 03/23/2017                        1241-000           $3,400.00                  $0.00          $32,482.84
04/24/2017           (16)   Steel Spectrum LLC                      settlement per Order of 03/23/2017                        1241-000           $1,000.00                  $0.00          $33,482.84
04/24/2017           (16)   Access Steel Supply, LLC                settlement per Order of 03/23/2017                        1241-000           $4,000.00                  $0.00          $37,482.84
04/24/2017           (16)   Alro Seel Corporation                   settlement per Order of 03/23/2017                        1241-000            $200.00                   $0.00          $37,682.84
04/24/2017           (16)   Alto Steel Company, Inc.                Initial payment per settlement per Order of               1241-000           $6,000.00                  $0.00          $43,682.84
                                                                    03/23/17
04/24/2017           (16)   Barnes & Thornburg, LLP                 settlement per Order of 03/23/2017                        1241-000           $2,763.25                  $0.00          $46,446.09
04/24/2017           (16)   Cargill Incorporated                    settlement per Order of 03/23/2017                        1241-000          $27,687.44                  $0.00          $74,133.53
04/24/2017           (16)   Eagle Steel Corporation                 settlement per Order of 03/23/2017                        1241-000          $10,000.00                  $0.00          $84,133.53
04/24/2017           (16)   Esmark Steel Group - Midwest            settlement per Order of 03/23/2017                        1241-000          $15,558.06                  $0.00          $99,691.59
04/24/2017           (16)   Heidtman Steel Products                 settlement per Order of 03/23/2017                        1241-000           $4,007.00                  $0.00         $103,698.59
04/24/2017           (16)   K&M Transport LLC                       settlement per Order of 03/23/2017                        1241-000           $4,200.00                  $0.00         $107,898.59
04/24/2017           (16)   Metals USA                              settlement per Order of 03/23/2017                        1241-000           $4,992.51                  $0.00         $112,891.10
04/24/2017           (16)   Miami Valley Steel Service, Inc.        settlement per Order of 03/23/2017                        1241-000           $6,000.00                  $0.00         $118,891.10
04/24/2017           (16)   Monarch Steel Company, Inc.             settlement per Order of 03/23/2017                        1241-000           $7,000.00                  $0.00         $125,891.10
04/24/2017           (16)   National Material Company               settlement per Order of 03/23/2017                        1241-000           $2,068.69                  $0.00         $127,959.79
04/24/2017           (16)   Packaging Systems of Indiana, Inc.      settlement per Order of 03/23/2017                        1241-000           $9,199.90                  $0.00         $137,159.69
04/24/2017           (16)   Pioneer Lumber Company                  settlement per Order of 03/23/2017                        1241-000           $8,765.46                  $0.00         $145,925.15
04/24/2017           (16)   Taylor Steel Inc.                       setttlement per Order of 03/23/2017                       1241-000          $23,400.00                  $0.00         $169,325.15
04/24/2017           (16)   Viking Materials                        settlement per Order of 03/23/2017                        1241-000           $1,250.00                  $0.00         $170,575.15
04/24/2017           (16)   Vision Metals, LLC                      settlement per Order of 03/23/2017                        1241-000           $1,000.00                  $0.00         $171,575.15



                                                                                                                             SUBTOTALS          $152,492.31            $76,811.23
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                                                           CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       15-07401                                                                                    Trustee Name:                        Randall L. Woodruff
Case Name:                     S&S STEEL SERVICES, INC.                                                                    Bank Name:                           Bank of Texas
Primary Taxpayer ID #:         **-***6723                                                                                  Checking Acct #:                     ******4372
Co-Debtor Taxpayer ID #:                                                                                                   Account Title:
For Period Beginning:          07/01/2017                                                                                  Blanket bond (per case limit):       $1,000,000.00
For Period Ending:             06/30/2018                                                                                  Separate bond (if applicable):


     1                2                        3                                               4                                                 5                    6                 7

Transaction      Check /                    Paid to/                   Description of Transaction                           Uniform           Deposit           Disbursement          Balance
   Date           Ref. #                 Received From                                                                     Tran Code            $                    $


04/24/2017           (16)   Alto Steel Company, Inc.          2nd installment of settlement per Order of                    1241-000           $6,000.00                     $0.00      $177,575.15
                                                              03/23/2017
04/24/2017           (16)   The Universal Steel Company       settlement per Order of 03/23/2017                            1241-000           $1,314.95                     $0.00      $178,890.10
04/28/2017                  Bank of Texas                     Account Analysis Fee                                          2600-000                 $0.00                 $195.53      $178,694.57
05/23/2017           3003   Clerk, U.S. Bankruptcy Court      deferred A/P filing fees                                          *                    $0.00            $1,050.00         $177,644.57
                                                              Case # 16-50376                                  ($350.00)    2700-000                                                   $177,644.57
                                                              Case #16-50377                                   ($350.00)    2700-000                                                   $177,644.57
                                                              Case #16-50378                                   ($350.00)    2700-000                                                   $177,644.57
05/23/2017           3004   Clerk, U.S. Bankruptcy Court                                                                        *                    $0.00            $1,050.00         $176,594.57
                                                              Case #16-50379                                   ($350.00)    2700-000                                                   $176,594.57
                                                              Case #16-50380                                   ($350.00)    2700-000                                                   $176,594.57
                                                              Case #16-50381                                   ($350.00)    2700-000                                                   $176,594.57
05/23/2017           3005   Clerk, U.S. Bankruptcy Court                                                                        *                    $0.00            $1,050.00         $175,544.57
                                                              Case #16-50382                                   ($350.00)    2700-000                                                   $175,544.57
                                                              Case #16-50383                                   ($350.00)    2700-000                                                   $175,544.57
                                                              Case #16-50386                                   ($350.00)    2700-000                                                   $175,544.57
05/23/2017           3006   Clerk, U.S. Bankruptcy Court                                                                        *                    $0.00            $1,050.00         $174,494.57
                                                              Case #16-50387                                   ($350.00)    2700-000                                                   $174,494.57
                                                              Case #16-50388                                   ($350.00)    2700-000                                                   $174,494.57
                                                              Case #16-50389                                   ($350.00)    2700-000                                                   $174,494.57
05/23/2017           3007   Clerk, U.S. Bankruptcy Court                                                                        *                    $0.00            $1,050.00         $173,444.57
                                                              Case #16-50390                                   ($350.00)    2700-000                                                   $173,444.57
                                                              Case #16-50391                                   ($350.00)    2700-000                                                   $173,444.57
                                                              Case #16-50392                                   ($350.00)    2700-000                                                   $173,444.57

                                                                                                                           SUBTOTALS            $7,314.95                 $5,445.53
                                    Case 15-07401-JJG-7A      Doc 600          Filed 07/26/18     EOD 07/26/18 14:22:58               Pg 8 of 18
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                                                           CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       15-07401                                                                           Trustee Name:                         Randall L. Woodruff
Case Name:                     S&S STEEL SERVICES, INC.                                                           Bank Name:                            Bank of Texas
Primary Taxpayer ID #:         **-***6723                                                                         Checking Acct #:                      ******4372
Co-Debtor Taxpayer ID #:                                                                                          Account Title:
For Period Beginning:          07/01/2017                                                                         Blanket bond (per case limit):        $1,000,000.00
For Period Ending:             06/30/2018                                                                         Separate bond (if applicable):


     1                2                        3                                             4                                          5                     6                 7

Transaction      Check /                    Paid to/                 Description of Transaction                    Uniform           Deposit            Disbursement          Balance
   Date           Ref. #                 Received From                                                            Tran Code            $                     $


05/23/2017           3008   Clerk, U.S. Bankruptcy Court                                                               *                    $0.00             $1,050.00         $172,394.57
                                                              Case #16-50393                          ($350.00)    2700-000                                                    $172,394.57
                                                              Case #16-50394                          ($350.00)    2700-000                                                    $172,394.57
                                                              Case #17-50006                          ($350.00)    2700-000                                                    $172,394.57
05/23/2017           3009   Clerk, U.S. Bankruptcy Court                                                               *                    $0.00             $1,050.00         $171,344.57
                                                              Case #17-50007                          ($350.00)    2700-000                                                    $171,344.57
                                                              Case #17-50008                          ($350.00)    2700-000                                                    $171,344.57
                                                              Case #17-50009                          ($350.00)    2700-000                                                    $171,344.57
05/23/2017           3010   Clerk, U.S. Bankruptcy Court                                                               *                    $0.00             $1,050.00         $170,294.57
                                                              Case #17-50010                          ($350.00)    2700-000                                                    $170,294.57
                                                              Case #17-50011                          ($350.00)    2700-000                                                    $170,294.57
                                                              Case #17-50018                          ($350.00)    2700-000                                                    $170,294.57
05/23/2017           3011   Clerk, U.S. Bankruptcy Court                                                               *                    $0.00             $1,050.00         $169,244.57
                                                              Case #17-50019                          ($350.00)    2700-000                                                    $169,244.57
                                                              Case #17-50020                          ($350.00)    2700-000                                                    $169,244.57
                                                              Case #17-50021                          ($350.00)    2700-000                                                    $169,244.57
05/23/2017           3012   Clerk, U.S. Bankruptcy Court                                                               *                    $0.00             $1,050.00         $168,194.57
                                                              Case #17-50022                          ($350.00)    2700-000                                                    $168,194.57
                                                              Case #17-50023                          ($350.00)    2700-000                                                    $168,194.57
                                                              Case #17-50024                          ($350.00)    2700-000                                                    $168,194.57
05/23/2017           3013   Clerk, U.S. Bankruptcy Court                                                               *                    $0.00             $1,050.00         $167,144.57
                                                              Case #17-50025                          ($350.00)    2700-000                                                    $167,144.57
                                                              Case #17-50026                          ($350.00)    2700-000                                                    $167,144.57
                                                              Case #17-50027                          ($350.00)    2700-000                                                    $167,144.57
                                                                                                                  SUBTOTALS                  $0.00                $6,300.00
                                    Case 15-07401-JJG-7A            Doc 600          Filed 07/26/18             EOD 07/26/18 14:22:58                Pg 9 of 18
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                                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       15-07401                                                                                          Trustee Name:                        Randall L. Woodruff
Case Name:                     S&S STEEL SERVICES, INC.                                                                          Bank Name:                           Bank of Texas
Primary Taxpayer ID #:         **-***6723                                                                                        Checking Acct #:                     ******4372
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:
For Period Beginning:          07/01/2017                                                                                        Blanket bond (per case limit):       $1,000,000.00
For Period Ending:             06/30/2018                                                                                        Separate bond (if applicable):


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Transaction      Check /                    Paid to/                        Description of Transaction                            Uniform           Deposit           Disbursement          Balance
   Date           Ref. #                 Received From                                                                           Tran Code            $                    $


05/23/2017           3014   Clerk, U.S. Bankruptcy Court                                                                              *                    $0.00            $1,050.00         $166,094.57
                                                                    Case #17-50028                                   ($350.00)    2700-000                                                   $166,094.57
                                                                    Case #17-50029                                   ($350.00)    2700-000                                                   $166,094.57
                                                                    Case #17-50030                                   ($350.00)    2700-000                                                   $166,094.57
05/23/2017           3015   Clerk, U.S. Bankruptcy Court                                                                              *                    $0.00            $1,050.00         $165,044.57
                                                                    Case #17-50031                                   ($350.00)    2700-000                                                   $165,044.57
                                                                    Case #17-50034                                   ($350.00)    2700-000                                                   $165,044.57
                                                                    Case #17-50035                                   ($350.00)    2700-000                                                   $165,044.57
05/23/2017           3016   Clerk, U.S. Bankruptcy Court                                                                              *                    $0.00            $1,050.00         $163,994.57
                                                                    Case #17-50036                                   ($350.00)    2700-000                                                   $163,994.57
                                                                    Case #17-50037                                   ($350.00)    2700-000                                                   $163,994.57
                                                                    Case #17-50038                                   ($350.00)    2700-000                                                   $163,994.57
05/23/2017           3017   Clerk, U.S. Bankruptcy Court                                                                              *                    $0.00            $1,050.00         $162,944.57
                                                                    Case #17-50039                                   ($350.00)    2700-000                                                   $162,944.57
                                                                    Case #17-50040                                   ($350.00)    2700-000                                                   $162,944.57
                                                                    Case #17-50041                                   ($350.00)    2700-000                                                   $162,944.57
05/23/2017           3018   Clerk, U.S. Bankruptcy Court                                                                              *                    $0.00            $1,050.00         $161,894.57
                                                                    Case #17-50042                                   ($350.00)    2700-000                                                   $161,894.57
                                                                    Case #17-50043                                   ($350.00)    2700-000                                                   $161,894.57
                                                                    Case #17-50118                                   ($350.00)    2700-000                                                   $161,894.57
05/26/2017           (16)   Universal Truckload                     non-insider preference settlement per Order of                1241-000           $5,350.00                     $0.00      $167,244.57
                                                                    05/18/17
05/26/2017           (16)   C.H. Robbinson Innternational Inc.      non-insider preference settlement per Order of                1241-000          $10,000.00                     $0.00      $177,244.57
                                                                    05/18/17

                                                                                                                                 SUBTOTALS           $15,350.00                 $5,250.00
                                      Case 15-07401-JJG-7A       Doc 600          Filed 07/26/18             EOD 07/26/18 14:22:58          Pg 10 of 18
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                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       15-07401                                                                                  Trustee Name:                        Randall L. Woodruff
Case Name:                     S&S STEEL SERVICES, INC.                                                                  Bank Name:                           Bank of Texas
Primary Taxpayer ID #:         **-***6723                                                                                Checking Acct #:                     ******4372
Co-Debtor Taxpayer ID #:                                                                                                 Account Title:
For Period Beginning:          07/01/2017                                                                                Blanket bond (per case limit):       $1,000,000.00
For Period Ending:             06/30/2018                                                                                Separate bond (if applicable):


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Transaction      Check /                     Paid to/                     Description of Transaction                      Uniform           Deposit           Disbursement          Balance
   Date           Ref. #                  Received From                                                                  Tran Code            $                    $


05/26/2017           (16)   Phoenix Steel Service, Inc.           non-insider preference settlement per Order of          1241-000           $9,000.00                    $0.00       $186,244.57
                                                                  05/18/17
05/26/2017           (16)   Superior Steel Supply LLC             non-insider preference settlement per Order of          1241-000           $7,150.00                    $0.00       $193,394.57
                                                                  05/18/17
05/26/2017           (16)   Steel Spectrum LLC                    non-insider preference settlement per Order of          1241-000           $1,000.00                    $0.00       $194,394.57
                                                                  05/18/17
05/26/2017           (16)   West Walker Steel                     non-insider preference settlement per Order of          1241-000           $3,000.00                    $0.00       $197,394.57
                                                                  05/18/17
05/26/2017           (16)   DuCharme, McMillen & Associates,      non-insider preference settlement per Order of          1241-000          $28,500.00                    $0.00       $225,894.57
                            Inc.                                  05/18/17
05/26/2017           (16)   Steel Warehouse Company LLC           non-insider preference settlement per Order of          1241-000           $6,757.09                    $0.00       $232,651.66
                                                                  05/18/17
05/26/2017           (16)   Blue Fin Steel Corporation            non-insider preference settlement per Order of          1241-000           $6,210.00                    $0.00       $238,861.66
                                                                  05/18/17
05/26/2017           (16)   Anchor Steel LLC                      non-insider preference settlement per Order of          1241-000           $5,750.00                    $0.00       $244,611.66
                                                                  05/18/17
05/31/2017                  Bank of Texas                         Account Analysis Fee                                    2600-000                 $0.00                $294.89       $244,316.77
06/06/2017           (16)   wire in                               settlement proceeds per Order of 5/18/2017              1241-000          $19,500.00                    $0.00       $263,816.77
                                                                  (ArcelorMittal); actual deposit date = 05/30/2017
06/12/2017           3019   Wells Fargo                           partial payment of super administrative claim per       2990-800                 $0.00           $69,176.86         $194,639.91
                                                                  Order of 5/18/2017
06/15/2017           (16)   Colorado Metals LLC                   non-insider preference settlement per Order of          1241-000          $12,814.76                    $0.00       $207,454.67
                                                                  05/18/17
06/15/2017           (16)   HMB Steel                             non-insider preference settlement payment per           1241-000           $9,991.30                    $0.00       $217,445.97
                                                                  Order of 05/18/17
06/15/2017           (16)   Eastern Metal Trading Co., Inc.       non-insider preference settlement payment per           1241-000           $2,848.92                    $0.00       $220,294.89
                                                                  Order of 05/18/17


                                                                                                                         SUBTOTALS          $112,522.07            $69,471.75
                                   Case 15-07401-JJG-7A                Doc 600          Filed 07/26/18              EOD 07/26/18 14:22:58          Pg 11 of 18
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       15-07401                                                                                         Trustee Name:                        Randall L. Woodruff
Case Name:                     S&S STEEL SERVICES, INC.                                                                         Bank Name:                           Bank of Texas
Primary Taxpayer ID #:          **-***6723                                                                                      Checking Acct #:                     ******4372
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:
For Period Beginning:          07/01/2017                                                                                       Blanket bond (per case limit):       $1,000,000.00
For Period Ending:             06/30/2018                                                                                       Separate bond (if applicable):


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Transaction      Check /                     Paid to/                            Description of Transaction                      Uniform           Deposit           Disbursement          Balance
   Date           Ref. #                  Received From                                                                         Tran Code            $                    $


06/15/2017           (16)   Venture Steel, Inc.                         non-insider preference settlement payment per            1241-000          $10,600.36                    $0.00       $230,895.25
                                                                        Order of 05/18/17
06/15/2017           (16)   KLB Steel LLC                               non-insider preference settlement payment per            1241-000           $8,720.80                    $0.00       $239,616.05
                                                                        Order of 05/18/17
06/15/2017           (16)   Meddford Metals                             non-insider preference settlement payment per            1241-000          $11,645.48                    $0.00       $251,261.53
                                                                        Order of 05/18/17
06/15/2017           (16)   Steel Specttrum, LLC                        non-insider settlement payment per court order           1241-000           $1,000.00                    $0.00       $252,261.53
06/20/2017           (16)   Nucor Castrip Arkansas, LLC                 settlement of preference claim per Order of 6/9/17       1241-000          $67,992.42                    $0.00       $320,253.95
06/24/2017           3020   Wells Fargo                                 partial payment of superiority administrative claim      2990-800                 $0.00           $24,000.00         $296,253.95
                                                                        per Order of 6/9/2017
06/30/2017                  Bank of Texas                               Account Analysis Fee                                     2600-000                 $0.00                $441.90       $295,812.05
07/05/2017           3021   Wells Fargo                                 partial payment of superiority administrative claim      2990-800                 $0.00           $32,032.85         $263,779.20
                                                                        per Court order o 06/19/17.
07/13/2017           (16)   Industrial Steel & Fastener Corp.           non-insider preference settlement payment                1241-000           $1,420.00                    $0.00       $265,199.20
07/13/2017           (16)   Triamerica Steel Resources, LLC             non-insider preference settlement payment                1241-000          $39,057.77                    $0.00       $304,256.97
07/13/2017           (16)   Bridgeport Capital Services                 non-insider preference settlement payment                1241-000            $500.00                     $0.00       $304,756.97
07/13/2017           (16)   United States Steel Corporation             non-insider preference settlement payment                1241-000          $44,226.70                    $0.00       $348,983.67
07/13/2017           (16)   Steel Spectrum LLC                          non-insider preference settlement payment                1241-000           $1,000.00                    $0.00       $349,983.67
07/13/2017           (16)   State Steel Supply Co.                      non-insider preference settlement payment                1241-000          $10,141.30                    $0.00       $360,124.97
07/13/2017           (16)   MidWest Materials Steel Service Center      non-insider preference settlement payment                1241-000           $8,734.11                    $0.00       $368,859.08
07/13/2017           (16)   Odyssey CM Logistics LLC                    non-insider preference settlement payment                1241-000           $5,000.00                    $0.00       $373,859.08
07/31/2017                  Bank of Texas                               Account Analysis Fee                                     2600-000                 $0.00                $560.57       $373,298.51
08/03/2017           (16)   Wolverine Steel, Inc.                       settlement payment of non-insider preference             1241-000            $333.37                     $0.00       $373,631.88
                                                                        action
08/03/2017           (16)   Wolverine Steel, Inc.                       settlement payment of non-insider preference             1241-000            $333.33                     $0.00       $373,965.21
                                                                        action


                                                                                                                                SUBTOTALS          $210,705.64            $57,035.32
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Case No.                       15-07401                                                                                Trustee Name:                        Randall L. Woodruff
Case Name:                     S&S STEEL SERVICES, INC.                                                                Bank Name:                           Bank of Texas
Primary Taxpayer ID #:         **-***6723                                                                              Checking Acct #:                     ******4372
Co-Debtor Taxpayer ID #:                                                                                               Account Title:
For Period Beginning:          07/01/2017                                                                              Blanket bond (per case limit):       $1,000,000.00
For Period Ending:             06/30/2018                                                                              Separate bond (if applicable):


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Transaction      Check /                    Paid to/                     Description of Transaction                     Uniform           Deposit           Disbursement          Balance
   Date           Ref. #                 Received From                                                                 Tran Code            $                    $


08/03/2017           (16)   Steel Spectrum, LLC                  settlement payment of non-insider preference           1241-000           $1,000.00                    $0.00       $374,965.21
                                                                 action
08/03/2017           (16)   Premium Steel Sales, LLC             settlement payment of non-insider preference           1241-000          $22,000.00                    $0.00       $396,965.21
                                                                 action
08/03/2017           (16)   TMC Transportation, Inc.             settlement payment of non-insider preference           1241-000          $11,500.00                    $0.00       $408,465.21
                                                                 action
08/03/2017           (16)   Boyd Bros. Transportation, Inc.      settlement payment of non-insider preference           1241-000           $3,400.00                    $0.00       $411,865.21
                                                                 action
08/03/2017           (16)   Worthington Industries, Inc.         settlement payment of non-insider preference           1241-000          $15,000.00                    $0.00       $426,865.21
                                                                 action
08/28/2017           3022   Ice Miller LLP                       interim comp per order of 8/25/2017                    3210-600                 $0.00           $65,863.46         $361,001.75
08/28/2017           3023   Ice Miller LLP                       reimbursement of expenses per order of 08/25/2017      3220-610                 $0.00            $7,200.41         $353,801.34
08/31/2017                  Bank of Texas                        Account Analysis Fee                                   2600-000                 $0.00                $671.75       $353,129.59
09/11/2017                  Pinnacle Bank                        Transfer Funds                                         9999-000                 $0.00          $353,129.59                 $0.00




                                                                                                                       SUBTOTALS           $52,900.00           $426,865.21
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        15-07401                                                                                        Trustee Name:                        Randall L. Woodruff
Case Name:                      S&S STEEL SERVICES, INC.                                                                        Bank Name:                           Bank of Texas
Primary Taxpayer ID #:          **-***6723                                                                                      Checking Acct #:                     ******4372
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:
For Period Beginning:           07/01/2017                                                                                      Blanket bond (per case limit):       $1,000,000.00
For Period Ending:              06/30/2018                                                                                      Separate bond (if applicable):


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Transaction      Check /                     Paid to/                       Description of Transaction                            Uniform          Deposit           Disbursement          Balance
   Date           Ref. #                  Received From                                                                          Tran Code           $                    $



                                                                                     TOTALS:                                                        $647,896.17           $647,896.17                $0.00
                                                                                         Less: Bank transfers/CDs                                         $0.00           $353,129.59
                                                                                     Subtotal                                                       $647,896.17           $294,766.58
                                                                                         Less: Payments to debtors                                        $0.00                 $0.00
                                                                                     Net                                                            $647,896.17           $294,766.58




                     For the period of 07/01/2017 to 06/30/2018                                                For the entire history of the account between 02/24/2016 to 6/30/2018

                     Total Compensable Receipts:                     $163,646.58                               Total Compensable Receipts:                               $647,896.17
                     Total Non-Compensable Receipt                         $0.00                               Total Non-Compensable Receipt                                   $0.00
                     Total Comp/Non Comp Receipts                    $163,646.58                               Total Comp/Non Comp Receipts                              $647,896.17
                     Total Internal/Transfer Receipts                      $0.00                               Total Internal/Transfer Receipts                                $0.00


                     Total Compensable Disbursements:                $106,329.04                               Total Compensable Disbursements:                          $294,766.58
                     Total Non-Compensable Disbursement                    $0.00                               Total Non-Compensable Disbursement                              $0.00
                     Total Comp/Non Comp Disbursements               $106,329.04                               Total Comp/Non Comp Disbursements                         $294,766.58
                     Total Internal/Transfer Disbursements           $353,129.59                               Total Internal/Transfer Disbursements                     $353,129.59
                                   Case 15-07401-JJG-7A            Doc 600           Filed 07/26/18               EOD 07/26/18 14:22:58           Pg 14 of 18
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                                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       15-07401                                                                                       Trustee Name:                         Randall L. Woodruff
Case Name:                     S&S STEEL SERVICES, INC.                                                                       Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:         **-***6723                                                                                     Checking Acct #:                      ******0013
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                        DDA
For Period Beginning:          07/01/2017                                                                                     Blanket bond (per case limit):        $1,000,000.00
For Period Ending:             06/30/2018                                                                                     Separate bond (if applicable):


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Transaction      Check /                     Paid to/                        Description of Transaction                        Uniform            Deposit           Disbursement          Balance
   Date           Ref. #                  Received From                                                                       Tran Code             $                    $


09/11/2017                  Bank of Texas                           Transfer Funds                                             9999-000          $353,129.59                     $0.00      $353,129.59
09/20/2017           5001   Wells Fargo                             partial payment of super-priority claim per Order of       2990-800                  $0.00           $36,205.14         $316,924.45
                                                                    8/31/17
09/29/2017           (16)   Barnes & Thornburg, LLP, IOLTA          SETTLEMENT OF NON-INSIDER PREFERENCE                       1241-000            $5,626.00                     $0.00      $322,550.45
09/29/2017           (16)   Olympic Steel                           settlement of non-insider preference claim                 1241-000           $22,500.00                     $0.00      $345,050.45
09/29/2017           (16)   Wellington Steel Supply                 settlement of non-insder preference claim                  1241-000           $12,665.00                     $0.00      $357,715.45
09/29/2017           (16)   Steel Spectrum LLC                      settlement of non-insider preference claim                 1241-000            $1,000.00                     $0.00      $358,715.45
09/29/2017           (16)   Discount Metals, Inc.                   settlement of non-insider preference claim                 1241-000            $9,011.70                     $0.00      $367,727.15
09/29/2017           (16)   Wolverine Steel, Inc.                   settlement of non-insider preference claim                 1241-000             $333.33                      $0.00      $368,060.48
09/29/2017           (16)   Morales Group, Inc.                     settlement of non-insider preference claim                 1241-000           $11,500.00                     $0.00      $379,560.48
09/29/2017           (16)   Great American Insurance Companies      settlement of non-insider preference claim                 1241-000           $19,200.00                     $0.00      $398,760.48
10/03/2017                  Pinnacle Bank                           Pinnacle Analysis                                          2600-000                  $0.00                 $363.96      $398,396.52
10/31/2017           5002   Bose McKinney & Evans LLP               payment of special counsel fee per Order of                3210-600                  $0.00           $18,040.98         $380,355.54
                                                                    10/30/17 (doc 506)
10/31/2017           5003   Bose McKinney & Evans, LLP              payment of special counsel expenses per Order of           3220-610                  $0.00                 $900.60      $379,454.94
                                                                    10/30/17 (doc 506)
11/01/2017           (16)   Steel Spectrum LLC                      PARTIAL PAYMENT OF PREFERENCE                              1241-000            $1,000.00                     $0.00      $380,454.94
                                                                    SETTLEMENT
11/01/2017           (16)   STEEL SPECTRUM                          PARTIAL PAYMENT OF PREFERENCE                              1241-000            $1,000.00                     $0.00      $381,454.94
                                                                    SETTLEMENT
11/01/2017           (16)   WOLVERINE STEEL, INC.                   PARTIAL PAYMENT OF PREFERENCE                              1241-000             $333.33                      $0.00      $381,788.27
                                                                    SETTLEMENT
11/01/2017           (16)   WOLVERINE STEEL, INC.                   PARTIAL PAYMENT OF PREFERENCE                              1241-000             $333.33                      $0.00      $382,121.60
                                                                    SETTLEMENT
11/02/2017                  Pinnacle Bank                           Pinnacle Analysis                                          2600-000                  $0.00                 $638.79      $381,482.81




                                                                                                                              SUBTOTALS           $437,632.28            $56,149.47
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        15-07401                                                                                        Trustee Name:                         Randall L. Woodruff
Case Name:                      S&S STEEL SERVICES, INC.                                                                        Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:          **-***6723                                                                                      Checking Acct #:                      ******0013
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:                        DDA
For Period Beginning:           07/01/2017                                                                                      Blanket bond (per case limit):        $1,000,000.00
For Period Ending:              06/30/2018                                                                                      Separate bond (if applicable):


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Transaction      Check /                      Paid to/                          Description of Transaction                       Uniform            Deposit           Disbursement          Balance
   Date           Ref. #                   Received From                                                                        Tran Code             $                    $


11/06/2017           5004   International Sureties, Ltd.               pro rata allocation of Trustee's Bond per                 2300-000                  $0.00                 $262.49      $381,220.32
                                                                       International Sureties, Ltd Invoice dated 11/03/17
                                                                       for period 11/03/17 to 11/03/2018. Bond
                                                                       #016028270
11/13/2017           5005   Marietta Financial Services, Inc.          accountants' fee per Order of 11/13/17 (Doc 515)          3410-000                  $0.00            $4,288.15         $376,932.17
11/13/2017           5006   Marietta Financial Services, Inc.          accountants' reimbursable expenses per Order of           3420-000                  $0.00                 $148.90      $376,783.27
                                                                       11/13/17 (Doc 515)
11/21/2017           (16)   Burt, Blee, Dixon, Sutton & Bloom LLP      non-insider preference settlement                         1241-000            $8,595.98                     $0.00      $385,379.25
11/21/2017           (16)   Ice Miller trust account                   non-insider preference settlement from Russel             1241-000            $2,500.00                     $0.00      $387,879.25
                                                                       Metals, Inc.
11/21/2017           (16)   Allied Steel                               non-insider preference settlement                         1241-000            $1,750.00                     $0.00      $389,629.25
11/21/2017           (16)   Alied Steel Industries, LP                 non-insider preference settlement payment                 1241-000            $1,750.00                     $0.00      $391,379.25
11/21/2017           (16)   Premier Steel LLC                          non-insider preference settlement / deposit               1241-000          $10,743.26                      $0.00      $402,122.51
                                                                       reversed due to check being stale and returned.
11/27/2017           5007   Wells Fargo                                partial payment of super-priority claim per Order of      2990-800                  $0.00           $13,146.60         $388,975.91
                                                                       11/08/17
11/29/2017           (16)   DEP REVERSE: Premier Steel LLC             non-insider preference settlement / deposit               1241-000          ($10,743.26)                    $0.00      $378,232.65
                                                                       reversed due to check being stale and returned.
11/30/2017           5008   UpShot Services LLC                        payment for completion of Transition Services per         6990-000                  $0.00                 $250.00      $377,982.65
                                                                       order of 4/25/16 (doc 258)
12/04/2017           (16)   Premier Steel LLC                          settlement of non-insider preference claim                1241-000          $10,743.26                      $0.00      $388,725.91
12/04/2017           (16)   Wolverine Steel, Inc.                      payment on non-insider preference settlement              1241-000             $333.33                      $0.00      $389,059.24
12/04/2017           (16)   The Cross Law Firm, P.C. for Lew           settlement of non-insider preference claim                1241-000            $4,560.00                     $0.00      $393,619.24
                            Thornburg Trucking
12/04/2017                  Pinnacle Bank                              Pinnacle Analysis                                         2600-000                  $0.00                 $609.55      $393,009.69
01/08/2018                  Pinnacle Bank                              Pinnacle Analysis                                         2600-000                  $0.00                 $638.87      $392,370.82



                                                                                                                                SUBTOTALS            $30,232.57            $19,344.56
                                   Case 15-07401-JJG-7A           Doc 600          Filed 07/26/18              EOD 07/26/18 14:22:58          Pg 16 of 18
                                                                                     FORM 2                                                                  Page No: 13
                                                                CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       15-07401                                                                                    Trustee Name:                        Randall L. Woodruff
Case Name:                     S&S STEEL SERVICES, INC.                                                                    Bank Name:                           Pinnacle Bank
Primary Taxpayer ID #:          **-***6723                                                                                 Checking Acct #:                     ******0013
Co-Debtor Taxpayer ID #:                                                                                                   Account Title:                       DDA
For Period Beginning:          07/01/2017                                                                                  Blanket bond (per case limit):       $1,000,000.00
For Period Ending:             06/30/2018                                                                                  Separate bond (if applicable):


     1                2                            3                                                   4                                         5                    6                 7

Transaction      Check /                     Paid to/                       Description of Transaction                      Uniform           Deposit           Disbursement          Balance
   Date           Ref. #                  Received From                                                                    Tran Code            $                    $


01/11/2018           5009   Wells Fargo                            partial payment of super-priority claim per Order of     2990-800                 $0.00            $2,236.00         $390,134.82
                                                                   01/08/18 (doc 553)
01/12/2018           (16)   Allied Steel Industries LP             non insider preference settlement                        1241-000           $1,750.00                     $0.00      $391,884.82
01/31/2018           (16)   Wolverine Steel, Inc.                  payment on non-insider preference settlement             1241-000            $333.33                      $0.00      $392,218.15
02/06/2018                  Pinnacle Bank                          Pinnacle Analysis                                        2600-000                 $0.00                 $634.66      $391,583.49
02/07/2018           (16)   Timberlea Steel, Inc.                  settlement of non-insider preference action and          1241-000           $8,000.00                     $0.00      $399,583.49
                                                                   paid thrrough Ice Miller trust acct
02/21/2018           (16)   Allied Steel Industries LP             balance of non-insider preference claim                  1241-000           $2,250.00                     $0.00      $401,833.49
03/05/2018                  Pinnacle Bank                          Pinnacle Analysis                                        2600-000                 $0.00                 $580.24      $401,253.25
03/06/2018           (16)   Wolverine Steeel, Inc.                 payment on non-insider preference claim                  1241-000            $333.33                      $0.00      $401,586.58
03/30/2018                  Pinnacle Bank                          Pinnacle Analysis                                        2600-000                 $0.00                 $648.06      $400,938.52
04/04/2018           (16)   Wolverine Steel, Inc.                  payment of non-insider preference action                 1241-000            $333.33                      $0.00      $401,271.85
04/30/2018                  Pinnacle Bank                          Pinnacle Analysis                                        2600-000                 $0.00                 $626.59      $400,645.26
05/07/2018           (16)   Wolverine Steel, Inc.                  PARTIAL PAYMENT ON PREFERENCE                            1241-000            $333.33                      $0.00      $400,978.59
                                                                   SETTLEMENT
05/14/2018           5010   Marietta Financial Services, Inc.      accountant's fees paid per Order of 05/14/2018           3410-000                 $0.00            $4,123.95         $396,854.64
                                                                   (doc 579)
05/14/2018           5011   Marietta Financial Services, Inc.      reimbursable expenses per Order of 05/14/18 (doc         3420-000                 $0.00                  $74.45      $396,780.19
                                                                   579)
05/31/2018                  Pinnacle Bank                          Pinnacle Analysis                                        2600-000                 $0.00                 $645.13      $396,135.06
06/01/2018           (16)   Wolverine Steel,Inc.                   payment on non-insider preference settlement             1241-000            $333.33                      $0.00      $396,468.39
06/29/2018                  Pinnacle Bank                          Pinnacle Analysis                                        2600-000                 $0.00                 $619.09      $395,849.30




                                                                                                                           SUBTOTALS           $13,666.65            $10,188.17
                                    Case 15-07401-JJG-7A            Doc 600        Filed 07/26/18          EOD 07/26/18 14:22:58                   Pg 17 of 18
                                                                                     FORM 2                                                                       Page No: 14
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        15-07401                                                                                        Trustee Name:                        Randall L. Woodruff
Case Name:                      S&S STEEL SERVICES, INC.                                                                        Bank Name:                           Pinnacle Bank
Primary Taxpayer ID #:          **-***6723                                                                                      Checking Acct #:                     ******0013
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:                       DDA
For Period Beginning:           07/01/2017                                                                                      Blanket bond (per case limit):       $1,000,000.00
For Period Ending:              06/30/2018                                                                                      Separate bond (if applicable):


    1                2                           3                                                  4                                                  5                   6                 7

Transaction      Check /                     Paid to/                       Description of Transaction                            Uniform          Deposit           Disbursement          Balance
   Date           Ref. #                  Received From                                                                          Tran Code           $                    $



                                                                                     TOTALS:                                                        $481,531.50             $85,682.20        $395,849.30
                                                                                         Less: Bank transfers/CDs                                   $353,129.59                  $0.00
                                                                                     Subtotal                                                       $128,401.91             $85,682.20
                                                                                         Less: Payments to debtors                                        $0.00                  $0.00
                                                                                     Net                                                            $128,401.91             $85,682.20




                     For the period of 07/01/2017 to 06/30/2018                                                For the entire history of the account between 09/11/2017 to 6/30/2018

                     Total Compensable Receipts:                     $128,401.91                               Total Compensable Receipts:                               $128,401.91
                     Total Non-Compensable Receipt                         $0.00                               Total Non-Compensable Receipt                                   $0.00
                     Total Comp/Non Comp Receipts                    $128,401.91                               Total Comp/Non Comp Receipts                              $128,401.91
                     Total Internal/Transfer Receipts                $353,129.59                               Total Internal/Transfer Receipts                          $353,129.59


                     Total Compensable Disbursements:                 $85,682.20                               Total Compensable Disbursements:                           $85,682.20
                     Total Non-Compensable Disbursement                    $0.00                               Total Non-Compensable Disbursement                              $0.00
                     Total Comp/Non Comp Disbursements                $85,682.20                               Total Comp/Non Comp Disbursements                          $85,682.20
                     Total Internal/Transfer Disbursements                 $0.00                               Total Internal/Transfer Disbursements                           $0.00
                                    Case 15-07401-JJG-7A            Doc 600        Filed 07/26/18         EOD 07/26/18 14:22:58                   Pg 18 of 18
                                                                                     FORM 2                                                                    Page No: 15
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                         15-07401                                                                                    Trustee Name:                         Randall L. Woodruff
Case Name:                       S&S STEEL SERVICES, INC.                                                                    Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:           **-***6723                                                                                  Checking Acct #:                      ******0013
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:                        DDA
For Period Beginning:            07/01/2017                                                                                  Blanket bond (per case limit):        $1,000,000.00
For Period Ending:               06/30/2018                                                                                  Separate bond (if applicable):


    1                2                           3                                                   4                                              5                    6                 7

Transaction      Check /                     Paid to/                        Description of Transaction                        Uniform            Deposit          Disbursement          Balance
   Date           Ref. #                  Received From                                                                       Tran Code             $                   $


                                                                                                                                                                             NET            ACCOUNT
                                                                                      TOTAL - ALL ACCOUNTS                              NET DEPOSITS                    DISBURSE           BALANCES

                                                                                                                                                 $776,298.08          $380,448.78          $395,849.30




                     For the period of 07/01/2017 to 06/30/2018                                              For the entire history of the account between 09/11/2017 to 6/30/2018

                     Total Compensable Receipts:                     $292,048.49                            Total Compensable Receipts:                               $776,298.08
                     Total Non-Compensable Receipt                         $0.00                            Total Non-Compensable Receipt                                   $0.00
                     Total Comp/Non Comp Receipts                    $292,048.49                            Total Comp/Non Comp Receipts                              $776,298.08
                     Total Internal/Transfer Receipts                $353,129.59                            Total Internal/Transfer Receipts                          $353,129.59


                     Total Compensable Disbursements:                $192,011.24                            Total Compensable Disbursements:                          $380,448.78
                     Total Non-Compensable Disbursement                    $0.00                            Total Non-Compensable Disbursement                              $0.00
                     Total Comp/Non Comp Disbursements               $192,011.24                            Total Comp/Non Comp Disbursements                         $380,448.78
                     Total Internal/Transfer Disbursements           $353,129.59                            Total Internal/Transfer Disbursements                     $353,129.59




                                                                                                                                               /s/ RANDALL L. WOODRUFF
                                                                                                                                               RANDALL L. WOODRUFF
